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                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF DELAWARE

AUTONOMOUS DEVICES LLC,                          )
                                                 )
               Plaintiff,                        )
                                                 )
       v.                                        )    C.A. No. 22-1466-MN
                                                 )
TESLA, INC.,                                     )
                                                 )
               Defendant.                        )


                                    NOTICE OF SERVICE

       PLEASE TAKE NOTICE that on August 7, 2023, the following document was served on

Tesla.AD@weil.com and the persons listed below in the manner indicated:

       1. Jasmin Cosic’s Objections and Responses to Defendant Tesla Inc.’s Rule 45 Request
          for Documents and Things

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Dated: August 8, 2023




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